  8:06-cr-00133-JFB-FG3            Doc # 30   Filed: 06/29/06    Page 1 of 1 - Page ID # 47




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
              vs.                                )                 8:06CR133
                                                 )
JOHN DAVIDSON,                                   )                  ORDER
                                                 )
                      Defendant.                 )



        Before the Court is defendant’s Motion to Reopen Detention [29]. Defendant requests
to be interviewed by Pretrial Services and for a review of his detention status. The Court will
grant the motion with respect to the interview of the defendant.

        IT IS ORDERED that Pretrial Services shall interview the defendant in the presence of
his attorney. Defense counsel Deborah A. Sanwick shall arrange a time to accompany Pretrial
Services to an interview of the defendant. Pretrial Services shall submit a report to the Court
following defendant’s interview.

       DATED this 29th day of June, 2006.

                                              BY THE COURT:


                                              s/ F.A. Gossett
                                              United States Magistrate Judge
